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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

                                                   :
Roberta Cornist,                                   :
                                                   : Civil Action No.: 2:15-cv-10913
                                                                       ______
                        Plaintiff,                 :
        v.                                         :
                                                   :
Credit Acceptance Corporation,                     : DEMAND FOR JURY TRIAL
                                                   :
                        Defendant.                 :
                                                   :
                                                   :

                                COMPLAINT & JURY DEMAND

        For this Complaint, the Plaintiff, Roberta Cornist, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendant transacts business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        3.      The Plaintiff, Roberta Cornist (“Plaintiff”), is an adult individual residing in

Cincinnati, Ohio, and is a “person” as the term is defined by 47 U.S.C. § 153(39).

        4.      Defendant Credit Acceptance Corporation (“CAC”), is a Michigan business entity

with an address of 25505 West Twelve Mile Road, Suite 3000 Southfield, Michigan 48034, and

is a “person” as the term is defined by 47 U.S.C. § 153(39).

        5.      CAC at all times acted by and through one or more of the agents.
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                                                FACTS


       6.         Within the last year, CAC contacted Plaintiff in an attempt to collect a consumer

debt allegedly owed by Plaintiff.

       7.         At all times mentioned herein, CAC called Plaintiff’s cellular telephone, number

513-xxx-0561, by using an automated telephone dialer system (“ATDS”) and an artificial or

prerecorded voice.

       8.         When Plaintiff answered calls from CAC, she was met with a prerecorded

message stating to hold for the next available representative.

       9.         Plaintiff never provided her cellular telephone number to CAC and never

provided her consent to be contacted on her cellular telephone.

       10.        Furthermore, during a live conversation with CAC, Plaintiff requested that all

communication to her cellular telephone number cease.

       11.        Despite the foregoing, CAC continued to call Plaintiff at an annoying and

harassing rate.

                                 COUNT I
       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                           47 U.S.C. § 227, et seq.

       12.        The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       13.        Plaintiff never provided her cellular telephone number to CAC and never

provided her consent to be contacted on her cellular telephone.

       14.        Without prior consent CAC contacted the Plaintiff by means of automatic

telephone calls and prerecorded messages at a cellular telephone in violation of 47 U.S.C. §

227(b)(1)(A)(iii).
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       15.     CAC continued to placed automated calls to Plaintiff’s cellular telephone

knowing there was no consent to continue the calls. As such, each call placed to Plaintiff was

made in knowing and/or willful violation of the TCPA, and subject to treble damages pursuant to

47 U.S.C. § 227(b)(3)(C).

       16.     The telephone number called by CAC was assigned to a cellular telephone service

for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

       17.     The calls from CAC to Plaintiff were not placed for “emergency purposes” as

defined by 47 U.S.C. § 227(b)(1)(A)(i).

       18.     CAC’s telephone system has the capacity to store numbers in a random and

sequential manner.

       19.     Plaintiff is entitled to an award of $500.00 in statutory damages for each call

made in negligent violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

       20.     As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against Defendant:

                  1. Statutory damages of $500.00 for each violation determined to be negligent

                      pursuant to 47 U.S.C. § 227(b)(3)(B);

                  2. Treble damages for each violation determined to be willful and/or knowing

                      pursuant to 47 U.S.C. § 227(b)(3)(C);

                  3. Such other and further relief as may be just and proper.
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                  TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: March 12, 2015


                                  Respectfully submitted,

                                  By: /s/ Sergei Lemberg, Esq.
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